
49 N.Y.2d 846 (1980)
In the Matter of Saul A. Babbin, Appellant
v.
State Tax Commission, Respondent.
Court of Appeals of the State of New York.
Argued February 12, 1980.
Decided March 20, 1980.
Martin S. Handelman, Richard F. Irwin and Barbara E. Boettcher for appellant.
Robert Abrams, Attorney-General (Maurice K. Peaslee and Shirley Adelson Siegel of counsel), for respondent.
Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER concur in memorandum.
*847MEMORANDUM.
The judgment of the Appellate Division should be affirmed, with costs.
Although the proof in the record would also have supported *848 a contrary conclusion, we cannot say that there is not substantial evidence to sustain the determination made by the State Tax Commission.
Judgment affirmed.
